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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 THE HEBREW UNIVERSITY OF JERUSALEM,

         PLAINTIFF,                              CASE NO.: 1:21-CV-05492

 V.

 THE PARTNERSHIPS AND UNINCORPORATED             JUDGE MANISH S. SHAH
 ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

         DEFENDANTS.

  PLAINTIFF’S MOTION FOR AN EXTENSION OF TIME TO RESPOND TO
       DEFENDANT’S MOTION TO DISMISS AND COUNTERCLAIM

        Plaintiff, The Hebrew University of Jerusalem (“HUJ” or “Plaintiff”), by its

counsel, respectfully requests this Honorable Court to reconsider the Minute Entry entered

on March 2, 2022 [Docket Entry 54], and further respectfully requests a brief five (5)

calendar day extension of time to respond to Defendant’s Motion to Dismiss [34] and

Counterclaim [39] pursuant to Fed. R. Civ. P. 6(b)(1)(B)(“Rule 6”).

        Plaintiff filed a Motion Requesting the Court to strike Defendant’s Motion to

Dismiss [34] and Defendant’s Counterclaim [39] on March 1, 2022. [52].

        On March 2, 2022, the Court denied that Motion by Minute Entry. [54]. Plaintiff

understands and respects the Court’s reasoning and decision denying Plaintiff’s Motion to

Strike, and does not ask the Court to reconsider that finding. However, in the Court’s

Minute Entry, the Court stated that Plaintiff had forfeited its arguments in opposition to

Defendant’s Motion and Counterclaim, by not filing a timely response. Plaintiff’s counsel

respectfully asks the Court to reconsider that ruling pursuant to Rule 6 and given the

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prejudicial effect it would have on Plaintiff. Rule 6 states that “the court may, for good

cause, extend the time…on motion made after the time has expired if the party failed to act

because of excusable neglect.” Fed. R. Civ. P. 6(b)(1)(B).

       Plaintiff’s counsel did not believe that in filing its Motion to Strike that it would be

forfeiting its opportunity to respond to Defendant. Plaintiff’s counsel was under the

impression that Rule 14(a)(4)(A) would apply, and the deadline for filing a Response and

Answer to the Counterclaim would be extended, even briefly, as the Rule states that “unless

the court sets a different time…if the court denies the motion…the responsive pleading

must be served within 14 days after notice of the court’s action.” Plaintiff’s counsel

acknowledges that it may have been mistaken or misinformed as to the effect of Rule 14

and the consequence of the Motion to Strike being denied. However, and of great

significance, Plaintiff would bear the burden of Plaintiff’s counsel’s error should Plaintiff

not be allowed to respond to the merits of the Motion, and would certainly be unfairly

prejudiced if found to be in default for failing to Answer the Counterclaim solely due to

Plaintiff’s counsel’s error.

       Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, “when a party

against whom a judgment for affirmative relief is sought has failed to plead or otherwise

defend . . . the clerk must enter the party’s default.” Fed. R. Civ. P. 55(a). It was Plaintiff’s

counsel’s understanding, even if mistaken, that Plaintiff’s Motion to Strike was its attempt

at otherwise defending. It was not Plaintiff’s intention to waive the opportunity to respond

to the substantive merits and defenses presented in Defendant’s Motion and Counterclaim.



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       If the Court had granted Plaintiff’s Motion to Strike, the response to Defendant’s

Motion or Counterclaim would have been rendered moot; as such, Plaintiff’s counsel

intended to wait for the disposition of its Motion to Strike, prior to filing its Response. In

hindsight, Plaintiff’s counsel realizes they should have filed the Motion to Strike at an

earlier time, which would have allowed for the disposition of the Motion prior to the

deadline to respond of March 1, 2022. Plaintiff’s counsel bears the full responsibility of

these errors. However, Plaintiff is prepared to file the Response to the Motion and Answer

to the Counterclaim, should the Court generously grant the present Motion.

       Plaintiff further respectfully submits that, while the prejudice for not allowing

Plaintiff to respond to Defendant’s Motion and Counterclaim would be great, there would

be no prejudice to the Defendant in granting a brief five (5) calendar day extension of time,

especially given the Defendant’s willingness to extend the briefing schedule in order to

pursue settlement negotiations.

       For the foregoing reasons, Plaintiff’s counsel respectfully requests that this Court

grant Plaintiff a brief, five (5) calendar day, extension of time to respond to the merits of

Defendant’s Motion and Counterclaim so as not to unfairly prejudice Plaintiff. Such

response will be filed no later than Monday, March 7, 2022, and Plaintiff would accept an

even briefer time frame should the Court generously grant Plaintiff’s request to extend the

time to respond.




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   Dated:   March 2, 2022            Respectfully submitted,

                                     /s/ Alison Carter
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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and

foregoing document was electronically filed on March 2, 2022 with the Clerk of the Court

using the CM/ECF system, which will automatically send an email notification of such filing

to all registered attorneys of record.



                                                /s/ Alison Carter
                                                Alison Carter




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